   Case 17-12472-M Document 6 Filed in USBC ND/OK on 01/15/18 Page 1 of 2



                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF OKLAHOMA

IN RE:                                                §
                                                      §
FAVOR OF GOD MINISTRIES, INC.,                        §     Case No. 17-12472-M
                                                      §     Chapter 7
       Debtor.                                        §
                                                      §

      NOTICE OF APPEARANCE AND REQUEST FOR NOTICES AND COPIES

       Please take notice that the undersigned counsel for HAWK ISLAND LEASING, LLC, a

creditor in the above-styled and numbered cause (“Creditor”), hereby files this Notice of

Appearance pursuant to 11 U.S.C. §§342(a) and Federal Rules of Civil Procedure 2002 and

9010, and respectfully requests that all notices given or required to be given in these proceedings

and all papers served or required to be served in these proceedings be served upon the

undersigned at the address and telephone number set forth below:

                               Steven W. Soule, OBA No. 13781
                               Kristen P. Evans, OBA No. 30210
                               Hall, Estill, Hardwick, Gable, Golden & Nelson, P.C.
                               320 South Boston Avenue, Suite 200
                               Tulsa, Oklahoma 74103-3706
                               Telephone: (918) 594-0400
                               Facsimile: (918) 594-0505
                               Email: ssoule@hallestill.com
                                       kevans@hallestill.com

       Creditor additionally requests that the Debtor and the Clerk of the United States

Bankruptcy Court place the above name and address on any mailing matrix or list of creditors to

be prepared or existing in the above-numbered case.

       Please take further notice that Creditor intends that neither this notice nor any later

appearance, pleading, claim or suit shall waive (i) any right to trial by jury in any proceeding; (ii)

any other rights, claims, actions, defenses, setoffs, or recoupment under agreements, in law, in




                                                  1
    Case 17-12472-M Document 6 Filed in USBC ND/OK on 01/15/18 Page 2 of 2



equity, or otherwise, all of which rights, claims, actions, defenses, setoffs and recoupments are

expressly reserved.

         DATED this 15th day of January, 2018.

                                            Respectfully submitted,

                                            HALL, ESTILL, HARDWICK, GABLE,
                                             GOLDEN & NELSON, P.C.


                                     By:    s/ Steven W. Soule’___
                                            Steven W. Soule’, OBA No. 13781
                                            Kristen P. Evans, OBA No. 30210
                                            320 South Boston Avenue, Suite 200
                                            Tulsa, Oklahoma 74103-3706
                                            Telephone: (918) 594-0400
                                            Facsimile: (918) 594-0505
                                            Email: ssoule@hallestill.com
                                                    kevans@hallestill.com

                                            ATTORNEYS FOR HAWK ISLAND LEASING,
                                            LLC


                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing instrument has
been served electronically via the Court’s ECF noticing system on those parties who receive
notice from that system on the 15th day of January, 2018.



                                            s/ Steven W. Soule’_____________
                                                      Steven W. Soule’
3397050.1:999905:00005




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